            Case 3:13-cr-05597-BHS           Document 101       Filed 12/13/13      Page 1 of 2




 1
                                UNITED STATES DISTRICT COURT
 2                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 3

 4
        UNITED STATES OF AMERICA,
 5                                                          CASE NO. CR13-5597BHS
                               Plaintiff,

 6                                                          ORDER
                 v.

 7      EDGAR RODRIGUEZ IBARRA, et al.,

 8                             Defendants.

 9          This matter comes before the Court on the parties’ stipulated motion to continue the

10 pretrial motions deadline and the trial date. The Court, having considered Defendant Jennifer

11 Keplach’s motion to continue, Defendants Edgar Rodriguez Ibarra, Juan Manuel Gomez-Ruiz,

12 Gary Polston and Francisco Rodriguez-Perez’ joinders in the motion, the government’s

13 supplement to the motion to continue, Defendant Juan Cuatro-Revelo’s motion to continue and
     the defendants’ speedy trial waivers, makes the following findings of fact and conclusions of
14
     law:
15
            1. The trial is complex due to the nature of the prosecution, the number of
16
     defendants, the length of the investigation, and the technology used during the investigation
17
     The Grand Jury returned a Superseding Indictment alleging 13 counts of various drug offenses
18
     related to a long-term investigation, occurring over approximately one year.
19
            2. To date, the prosecution has produced hundreds of pages of discovery for the defense,
20
     and will be providing significant, additional discovery.
21          3. Taking into account the exercise of due diligence, a continuance is necessary to allow

22 the defendant the reasonable time for effective preparation his defense, to explore resolution of


     ORDER - 1
            Case 3:13-cr-05597-BHS         Document 101        Filed 12/13/13     Page 2 of 2




 1 this case before trial and to substantially ensure continuity of defense counsel. 18 U.S.C. §

 2 3161(h)(7)(B)(iv).

 3          4. Proceeding to trial absent adequate time for the defense to prepare would result in a

     miscarriage of justice. 18 U.S.C. §3161(h)(7)(B)(i).
 4
            5. The ends of justice served by granting this continuance outweigh the best interests of
 5
     the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A) and (B).
 6
            5. Jennifer Keplach waived speedy trial through July 30, 2014; Edgar Rodriguez Ibarra
 7
     waived speedy trial through June 16, 2014; Juan Manuel Gomez-Ruiz waived speedy trial
 8
     through April 30, 2014; Gary Polston waived speedy trial through April 30, 2014; Francisco
 9
     Rodriguez-Perez waived speedy trial through June 30, 2014; Juan Cuatro-Revelo waived speedy
10 trial through July 30, 2014.

11          NOW, THEREFORE, IT IS HEREBY ORDERED

12          That the trial date is continued from December 31, 2013, to April 8, 2014, at 9:00 a.m.

13 Pretrial Conference is set for March 17, 2014, at 11:00 a.m. Pretrial motions are due by

14 February 6, 2014. The resulting period of delay from November 15, 2013, to April 8, 2014, is

15 hereby excluded for speedy trial purposes under 18 U.S.C. § 3161(h)(7)(A) and (B).
            Dated this 13th day of December, 2013.
16

17

18

19
                                                 ABENJAMIN H. SETTLE
                                                  United States District Judge

20

21

22


     ORDER - 2
